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 5                             UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
 7                                                    ***

 8   UNITED STATES OF AMERICA,           )
                                         )
 9                     Plaintiff,        )                         2:10-CR-00172-RLH-GWF
                                         )
10         vs.                           )                               ORDER
                                         )                  (Motion Pursuant to 28 U.S.C. § 2255 To
11   MOSHE BARMUHA,                      )                   Vacate, Set Aside or Correct Sentence
                                         )                   By A Person in Federal Custody–#258)
12                     Defendant.        )
     ____________________________________)
13

14          Before the Court is Defendant’s Motion Pursuant to 28 U.S.C. §2255 To Vacate, Set

15   Aside or Correct Sentence By A Person in Federal Custody (#258, filed October 27, 2014) and

16   the Court will exercise its authority under that section to refer this matter to the United States

17   Attorney for a response to the Motion.

18          IT IS THEREFORE ORDERED that Defendant’s Motion Pursuant to 28 U.S.C. §2255

19   To Vacate, Set Aside or Correct Sentence By A Person in Federal Custody (#258) is hereby

20   REFERRED to the UNITED STATES ATTORNEY for a response within forty-five (45) days of

21   the entry this Order. Defendant will then have fifteen (15) days thereafter to file a reply to the

22   response of the United States Attorney, and the matter will be referred for decision.

23          DATED: October 29, 2014.

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25                                                          ____________________________________
                                                            Roger L. Hunt
26                                                          United States District Judge
